            Case 1:15-cr-00867-RMB Document 338 Filed 11/09/17 Page 1 of 2
                                               USDCSDNY
                                               DOCUMENT
                                               ELECTRONICALLY            ILED
                                                      #:~~~~~~M~
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                  DOC
                                               DATE ilLED: \
                                                              --~----
UNITED STATES OF AMERICA,

                v.
                                                                         (RMB)
REZA ZARRAB, et al.

                       Defendant.


       Upon application of Defendant Mehmet Hakan Atilla (Victor Ro co and Cathy Fleming

appearing), and upon notice to the Government, and upon the prior proc edings held November

6, 201 7, and for good cause shown,

                        IT IS THIS    Cf ""DAY OF NOVEMBER 2017


       ORDERED THAT the following documents be filed under seal, with redacted versions to

be filed electronically via ECF:



       1.       Defendant Mehmet Hakan Atilla's Notice of Motion for eave to Take Rule 15

                Foreign Discovery, or in the Alternative, Live Video Te timony During Trial

                from Defense Witnesses in Turkey;

       2.       Declaration of Cathy A. Fleming, Esq. dated November , 2017 in Support of

                Defendant Mehmet Hakan Atilla's Motion for Leave to ake Rule 15 Foreign

                Depositions or, in the Alternative, Live Streamed Video Testimony During Trial

                from Defense Witnesses from Turkey;

       3.       Declaration of Mehmet Hakan Atilla signed October 27 2017; and
     Case 1:15-cr-00867-RMB Document 338 Filed 11/09/17 Page 2 of 2



4.      Memorandum of Law in Support of Defendant Mehmet         akan Atilla' s Motion

        for Leave to Take Rule 15 Foreign Discovery or, in the A ternative, Live

        Streamed Video Testimony During Trial from Defense       itnesses from Turkey.



                       SO ORDERED.




                              HON. RICHARD M. BERMAN
                              United States District Judge
